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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                             No. 19 CR 573
        v.
                                             Judge Edmund E. Chang
 ROBERT S. WAKSMUNDZKI

               GOVERNMENT’S RESPONSE TO DEFENDANT’S
                 MOTION FOR COMPASSIONATE RELEASE

       The United States of America, by John R. Lausch, Jr., United States Attorney

for the Northern District of Illinois, respectfully submits the following response to

defendant ROBERT S. WAKSMUNDZKI’s motion for compassionate release. Dkt. 37.

For the reasons stated below, the government does not oppose Waksmundzki’s

motion, subject to the caveat that this Court order as conditions of his release (1) that

he serve a period of not less than seven months of home confinement; and (2) that he

surrender for removal to Poland if ordered removed by immigration authorities.

I.     BACKGROUND

       A.    Offense conduct

       On July 23, 2019, Waksmundzki pleaded guilty to conspiracy to commit

criminal copyright infringement, in violation of 18 U.S.C. § 371) (Count One); and

filing a false tax return, in violation of 26 U.S.C. § 7206(1) (Count Two). Dkt. 6.

       As detailed in the plea agreement, between July 2003 and June 2015,

Waksmundzki operated a series of websites known as “Torrentz,” which generated

millions of dollars from the unlawful reproduction and distribution of copyright-

protected media, including movies, television shows, music, video games, computer
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software, and electronic books, without permission of the copyright holder.

Defendant monetized Torrentz by soliciting advertisements for the site, which

produced over $9.5 million in revenue. During tax years 2009 and 2010, defendant

also underreported part of the income he received from advertising revenue for the

Torrentz websites.

      B.     Sentencing

      Waksmundzki was sentenced on November 19, 2019. Dkt. 23. Consistent with

paragraph 17 of the plea agreement, the government moved the Court, pursuant to

Guideline § 5K1.1 and 18 U.S.C. § 3553(e), to depart downward from the applicable

guidelines range. The § 5K1.1 motion was based on Waksmundzki’s substantial

assistance in multiple investigations, as well as his willingness to testify in several

proceedings where he ultimately was not required.

      After considering the parties’ arguments and the 3553(a) factors, the Court

sentenced Waksmundzki to 12 months and one day of imprisonment on both counts,

to run concurrently. Dkt. 104.

      On March 27, 2020, Waksmundzki started his term of incarceration and is

currently housed at CI North Lake in Baldwin, Michigan. Assuming good time credit,

Waksmundzki’s projected release date is January 31, 2021.

      It is the government’s understanding that while Waksmundzki’s convictions

likely will result in deportation to his native Poland, no final determination on




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deportation has been made by immigration authorities, and no order of removal has

issued. See PSR ¶ 63.

II.     WAKSMUNDZKI’S MOTION FOR COMPASSIONATE RELEASE

        Approximately three months into service of his sentence, Waksmundzki has

filed a motion under 18 U.S.C. § 3582(c)(1)(A) seeking compassionate release from

BOP custody based on the COVID-19 pandemic and his underlying health conditions.

        A.    Legal standard

        As amended by Section 603(b) of the First Step Act, Title 18, United States

Code, Section 3582(c)(1)(A) provides:

        [T]he court, upon motion of the Director of the Bureau of Prisons, or
        upon motion of the defendant after the defendant has fully exhausted
        all administrative rights to appeal a failure of the Bureau of Prisons to
        bring a motion on the defendant’s behalf or the lapse of 30 days from the
        receipt of such a request by the warden of the defendant’s facility,
        whichever is earlier, may reduce the term of imprisonment (and may
        impose a term of probation or supervised release with or without
        conditions that does not exceed the unserved portion of the original term
        of imprisonment), after considering the factors set forth in section
        3553(a) to the extent that they are applicable, if it finds that—

              (i)    extraordinary and compelling reasons warrant such
                     a reduction; or

              (ii)   the defendant is at least 70 years of age, has served
                     at least 30 years in prison, pursuant to a sentence
                     imposed under section 3559(c), for the offense or
                     offenses for which the defendant is currently
                     imprisoned, and a determination has been made by
                     the Direct of the Bureau of Prisons that the
                     defendant is not a danger to the safety of any other
                     person or the community, as provided under section
                     3142(g); and


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        and that such a reduction is consistent with applicable policy statements
        issued by the Sentencing Commission.

Id.

        Regarding the statutory exhaustion requirement, the government does not

dispute that, as of Friday June 19, 2020—30 days after Waksmundzki’s counsel

emailed the Warden of CI North Lake—he will have fully exhausted his

administrative remedies.

        Waksmundzki is 35 years old, so he is not eligible to seek compassionate

release under § 3852(c)(1)(A)(ii). Instead, Waksmundzki is eligible for relief, if at all,

on the grounds that, “after considering the factors set forth in section

3553(a)…extraordinary and compelling reasons warrant such a reduction…and that

such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” Id.

        B.    Waksmundzki has presented extraordinary and compelling
              reasons warranting a sentence reduction.

        By law, the Sentencing Commission is directed to issue policy statements

defining the “extraordinary and compelling reasons” that might warrant a sentence

reduction under § 3852(c)(1)(A)(i).

        The Commission, in promulgating general policy statements regarding
        the sentencing modification provisions in section 3582(c)(1)(A) of title
        18, shall describe what should be considered extraordinary and
        compelling reasons for sentence reduction, including the criteria to be
        applied and a list of specific examples. Rehabilitation of the defendant
        alone shall not be considered an extraordinary and compelling reason.

28 U.S.C. § 994(t).

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      Consistent with that statutory mandate, Guideline § 1B1.13 provides that

under § 3852(c)(1)(A), a court may reduce a term of imprisonment, after considering

the § 3553(a) factors, if three criteria are satisfied: (1) “extraordinary and compelling

reasons warrant the reduction”; (2) “the defendant is not a danger to the safety of any

other person or to the community”; and (3) “the reduction is consistent with this policy

statement.”

      Application Note 1 to Guideline § 1B1.13 identifies factors that may constitute

“extraordinary and compelling reasons” for a sentence reduction, including a

defendant’s medical condition, age, family circumstances, and an open-ended

category for “other reasons.”

              1.    Waksmundzki has established that he has a serious
                    medical condition that substantially diminishes his ability
                    to provide self-care in light of the COVID-19 pandemic.

      In his motion for compassionate release, Waksmundzki states that he has been

previously diagnosed with heart palpitations that have resulted in fainting episodes.

Dkt. 37 at 5–6.       Waksmundzki also provided, under seal, medical records

documenting his previous health condition. Furthermore, Waksmundzki states that

upon his arrival at CI North Lake, he suffered another heart related episode that

caused him to faint. Staff determined that he needed to see a cardiologist and obtain

and EKG, but could not get him evaluated because, according to CI North Lake’s

official response, “Right now we are in the middle of a national pandemic. As soon as

the local medical facilities re-open we will make sure everyone gets what they need.”

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Thus, despite the best efforts of BOP personnel, defendant is unable to obtain testing

to determine the full extent of his cardiac ailments.

       In light of the COVID-19 pandemic, and the fact that Waksmundzki suffers

from a medical condition identified by the CDC as a COVID-19 risk factor 1—as well

as the fact that CI North Lake has experienced a COVID-19 outbreak, despite the

best BOP’s best efforts—the government agrees that Waksmundzki has established

“a serious physical or medical condition . . . that substantially diminishes the ability

of the defendant to provide self-care within the environment of a correctional facility

and from which he or she is not expected to recover,” U.S.S.G. § 1B1.13 cmt.

n.1(A)(ii)(I), in that the Waksmundzki’s ability to provide self-care against serious

injury or death as a result of COVID-19 is substantially diminished within the

environment of a correctional facility, by the chronic condition itself. Thus,

Waksmundzki has demonstrated an extraordinary and compelling reason for release.

       That showing, however, does not automatically entitle Waksmundzki to relief

under 18 U.S.C. § 3582(c)(1). Pursuant to the statute and the applicable policy

statement, the Court must also consider whether Waksmundzki poses a danger to

the community, as well as all other pertinent § 3553(a) factors, including defendant’s

history and characteristics, the risk of recidivism he poses, the time remaining on his

sentence, the quality of his release plan, and the impact of BOP’s efforts to maintain



1 See www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html
(last visited June 15, 2020) (listing “serious heart conditions” as an elevated risk factor).

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the safety of inmates. On balance, these factors demonstrate that early release is

warranted.

             2.     On balance, the § 3553(a) factors counsel in favor of release
                    with a condition of home confinement for at least seven
                    months.

      As explained below, on balance, the relevant § 3553(a) factors counsel in favor

of granting Waksmundzki release—subject to supervised release conditions of home

confinement for a term of at least seven months (corresponding roughly to his release

date from BOP), and his surrender to immigration authorities following the term of

home confinement, if he is ordered removed to Poland.

      The factors set forth in § 3553(a) include the nature and circumstances of the

offense, the history and characteristics of the defendant, and the need for the sentence

imposed to reflect the seriousness of the offense, to promote respect for the law, and

to provide just punishment for the offense, to afford adequate deterrence to criminal

conduct, to protect the public from further crimes of the defendant, and to provide the

defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner.

      Waksmundzki’s offenses, while serious, were non-violent in nature. The

Court’s decision to impose a below-guidelines sentence totaling 12 months and one

day of imprisonment reflected a determination that, although Waksmundzki

committed serious offenses, his risk of recidivism—and the potential danger he posed

to the public—was greatly reduced.


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         On balance, considering the totality of the circumstances and all the pertinent

§ 3553(a) factors, the government concedes that Waksmundzki’s diminished ability

to provide self-care against potential serious injury or death from COVID-19 while

imprisoned militates in favor of release. However, given that Waksmundzki has

served less than half of his sentence, the government maintains that release would

be inappropriate absent an order requiring, as conditions of release, that that

defendant serve at least seven months in home confinement, and that he surrender

for removal to Poland if he is ordered removed by immigration authorities.

III.     CONCLUSION

         For the reasons stated above, the government respectfully submits that

Waksmundzki should be granted release subject to conditions of home confinement

for a term of at least seven months—which would roughly track with his projected

release date in January 2021—and that he surrender for removal to Poland if he is

ordered removed by immigration authorities.


Dated: June 15, 2020                     Respectfully submitted,

                                         JOHN R. LAUSCH, JR.
                                         United States Attorney

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                          CERTIFICATE OF SERVICE

      I, Sean K. Driscoll, hereby certify that on June 15, 2020, I electronically filed

the foregoing GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR

COMPASSIONATE RELEASE with the Clerk of the Court for the United States

District Court for the Northern District of Illinois by using the Case

Management/Electronic Case Files (CM/ECF) system. I certify that all participants

in the case are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.



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